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 8
                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
     JEANNE WEINBERG, individually          )   Case No.
11   and on behalf of all other similarly   )
12   situated,                              )   CLASS ACTION
                                            )
13
     Plaintiff,                             )   COMPLAINT FOR VIOLATIONS
14                                          )   OF:
15          vs.                             )
                                            )   (1) Rosenthal Fair Debt Collection
16   CLARIENT, INC., and DOES 1             )   Practices Act [Cal. Civ. § 1788 et seq.]
17   through 10, inclusive,                 )
                                            )   DEMAND FOR JURY TRIAL
18
     Defendant.                             )
19                                          )
                                            )
20
                                            )
21
22          Plaintiff, JEANNE WEINBERG (“Plaintiff”), individually, and on behalf of
23
     all others similarly situated, brings this action against Defendant, CLARIENT,
24
25   INC. (“Defendant”), alleging the following upon information and belief based upon
26
     personal knowledge:
27
28



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 1                                   INTRODUCTION
 2
 3         1.      Plaintiff brings this class action on behalf of all individuals who

 4   received collection letters from Defendant wherein used unfair or unconscionable
 5
     means to collect or attempt to collect any debt, thereby violating the Rosenthal Fair
 6
 7   Debt Collection Practices Act, Cal. Civ. Code § 1788 et seq. (“RFDCPA”).
 8
                                JURISDICTION & VENUE
 9
10
           2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
11
12   a resident of California, seeks relief on behalf of a Class, which will result in at
13   least one class member belonging to a different state than that of Defendant, a
14
     company with its principal place of business in Florida and State of Incorporation
15
16   in Delaware. Plaintiff also seeks $1,000.00 in damages for each violation of the
17
     RFDCPA, which, when aggregated among a proposed class in the thousands,
18
19   exceeds the $5,000,000.00 threshold for federal court jurisdiction. Therefore, both
20
     diversity jurisdiction and the damages threshold under the Class Action Fairness
21
22   Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.

23         3.      A substantial part of the events giving rise to this action occurred in
24
     the County of Ventura, California. Venue is therefore proper in the United States
25
26   District Court for the Central District of California pursuant to 28 U.S.C. §
27
     1391(b)(2).
28



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 1
 2                                       PARTIES
 3
           4.     Plaintiff is a natural person residing in Ventura County, California
 4
 5   who allegedly owed or owes a debt and is thereby a “debtor” under the RFDCPA,
 6
     Cal. Civ. Code § 1788.2(h).
 7
 8         5.     At all relevant times herein, Defendant was a company engaged, by
 9   use of letters, in the business of collecting a debt from Plaintiff and others which
10
     qualifies as a “consumer debt” under the RFDCPA, Cal. Civ. Code § 1788.2(f).
11
12   Defendant regularly attempts to collect debts alleged to be due them, and therefore
13
     is a “debt collector” under the RFDCPA, Cal. Civ. Code § 1788.2(c).
14
15         6.     The above named Defendant, and its subsidiaries and agents, are
16
     collectively referred to as “Defendants.” The true names and capacities of the
17
18   Defendants sued herein as DOES 1 through 10, inclusive, are currently unknown

19   to Plaintiff, who therefore sues such Defendants by fictitious names. Each of the
20
     Defendants designated herein as a DOE is legally responsible for the unlawful acts
21
22   alleged herein. Plaintiff will seek leave of Court to amend the Complaint to reflect
23
     the true names and capacities of the DOE Defendants when such identities become
24
25   known.
26         7.     Plaintiff is informed and believes that at all relevant times, each and
27
     every Defendant was acting as an agent and/or employee of each of the other
28



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 1   Defendants and was acting within the course and scope of said agency and/or

 2   employment with the full knowledge and consent of each of the other Defendants.
 3
     Plaintiff is informed and believes that each of the acts and/or omissions complained
 4
 5   of herein was made known to, and ratified by, each of the other Defendants.
 6
                                FACTUAL ALLEGATIONS
 7
 8         8.     Beginning in or around October of 2016, Defendant began contacting
 9   Plaintiff in an effort to collect on an alleged debt.
10
           9.     During this process, Defendant, in its ordinary course of business,
11
12   began sending letters to Plaintiff in an attempt to collect the alleged debt owed.
13
           10.    These letters were in envelopes that had multiple transparent areas that
14
15   allowed anyone to see various aspects of what was on the inside.
16
           11.    These letters included statements such as “BALANCE PAST DUE”
17
18   in bold and highlighted as well as “Billing Office Phone : 855 436-6232” and

19   “FINAL NOTICE.”
20
           12.    As a direct and proximate result of Defendant’s conduct, Plaintiff felt
21
22   harassed, annoyed, and anxious.
23
                                  CLASS ALLEGATIONS
24
25         13.    Plaintiff brings this action on behalf of herself and all others similarly
26   situated, as a member of the proposed class (“The Class”) defined as follows:
27
                  All persons in the United States whom Defendant tried
28
                  to contact via letter in an effort to collect an alleged debt


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 1                that provided identifying information that the letter was
                  for the purposes of collection a debt within one (1) year
 2                of filing this complaint.
 3
 4         14.    Specifically excluded from the proposed Class are Defendant; any
 5
     entities in which Defendant has a controlling interest; and the employees, officers,
 6
     directors, affiliates, legal representatives, subsidiaries, and affiliates of Defendant.
 7
 8   The Class’ claims are based on the RFDCPA.
 9
           15.    This action is brought and may be properly maintained as a class
10
11   action. This action satisfies the numerosity, typicality, adequacy, predominance
12
     and superiority requirements for a class action.
13
14         16.    Plaintiff and members of The Class were harmed in the same way,
15   namely the following: Defendant indicated in their letter to Plaintiff and Class
16
     members that the letters were for the purposes of collecting a past due debt and and
17
18   they all felt harassed, annoyed, or anxious as a result of Defendant’s conduct.
19
           17.    The Class is so numerous that the individual joinder of all of its
20
21   members is impractical. While the exact number and identities of The Class
22   members are unknown to Plaintiff at this time and can only be ascertained through
23
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
24
25   The Class includes thousands of members. Plaintiff alleges that The Class members
26
     may be ascertained by the records maintained by Defendant.
27
28         18.    Common questions of fact and law exist as to all members of The


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 1   Class which predominate over any questions affecting only individual members of

 2   The Class. These common legal and factual questions, which do not vary between
 3
     Class members, and which may be determined without reference to the individual
 4
 5   circumstances of any Class members, include, but are not limited to, the following:
 6
                  a.    Whether Defendant communicated in letters to collect an
 7
                        alleged debt that provided identifying information that the
 8
                        letter;
 9
                  b.    Whether Defendant used unfair and unconscionable means of
10
                        collection;
11
                  c.    The nature and extent of damages and other remedies to which
12
                        the conduct of Defendant entitles The Class members.
13
14
           19.    Plaintiff is asserting claims that are typical of The Class because every
15
16   other member of The Class, like Plaintiff, were exposed to virtually identical
17   conduct and are entitled to statutory damages up to $1,000.00 in addition to actual
18
     damages and reasonable attorneys’ fees and costs pursuant to the RFDCPA.
19
20         20.    Plaintiff will fairly and adequately protect the interests of the members
21
     of The Class. Plaintiff has retained attorneys experienced in the prosecution of
22
23   class actions.
24
           21.    A class action is superior to other available methods of fair and
25
26   efficient adjudication of this controversy, since individual litigation of the claims

27   of all Class members is impracticable. Even if every Class member could afford
28



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 1   individual litigation, the court system could not. It would be unduly burdensome

 2   to the courts in which individual litigation of numerous issues would proceed.
 3
     Individualized litigation would also present the potential for varying, inconsistent,
 4
 5   or contradictory judgments and would magnify the delay and expense to all parties
 6
     and to the court system resulting from multiple trials of the same complex factual
 7
 8   issues. By contrast, the conduct of this action as a class action presents fewer
 9   management difficulties, conserves the resources of the parties and of the court
10
     system, and protects the rights of each Class member.
11
12         22.    The prosecution of separate actions by thousands of individual Class
13
     members would also create the risk of inconsistent or varying adjudications with
14
15   respect to, among other things, the need for and the nature of proper disclosures
16
     which Defendant must provide to all Class members when attempting to collect
17
18   alleged debts.

19         23.    The prosecution of separate actions by individual Class members
20
     would create a risk of adjudications with respect to them that would, as a practical
21
22   matter, be dispositive of the interests of the other Class members not parties to such
23
     adjudications or that would substantially impair or impede the ability of such non-
24
25   party Class members to protect their interests.
26         24.    Defendant has acted or refused to act in respects generally applicable
27
     to The Class, thereby making appropriate final and injunctive relief with regard to
28



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 1   the members of The Class as a whole.

 2
                COUNT I: VIOLATION OF THE ROSENTHAL FAIR DEBT
 3
        COLLECTION PRACTICES ACT, CAL. CIV. CODE § 1788 ET SEQ.
 4
                                  (By Plaintiff and The Class)
 5
 6          25.      Plaintiff hereby incorporates the preceding paragraphs as if set forth
 7
     in full.
 8
 9          26.      Cal. Civ. Code §1788.17 mandates that every debt collector collecting
10
     or attempting to collect a consumer debt shall comply with the provisions of
11
12   Sections 1692b to 1692j, inclusive, of, and shall be subject to the remedies in
13   Section 1692k of, Title 15 of the United States Code statutory regulations contained
14
     within the FDCPA, 15 U.S.C. 1692 et seq.
15
16          27.      Based upon the foregoing, Defendant’s conduct violated the RFDCPA
17
     in multiple ways, including but not limited to:
18
19                a) Using any language or symbol, other than the debt
20
                     collector’s address, on any envelope when communicating
21
22                   with a consumer by use of the mails or by telegram, and

23                b) Engaging in the use of unconscionable means to collect or
24
                     attempt to collect on a debt (15 U.S.C. § 1692f).
25
26          28.      Plaintiff alleges that to the extent that Defendant’s actions, counted
27
     above, violated the RFDCPA, those actions were done knowingly and willfully.
28



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 1            29.      As a direct and proximate result of Defendant’s violations of

 2   RFDCPA, Plaintiff and the members of The Class have suffered injury, and may
 3
     recover from Defendant one thousand dollars ($1,000.00) in statutory damages in
 4
 5   addition to actual damages and reasonable attorneys’ fees and costs pursuant to Cal.
 6
     Civ. Code § 1788.30.
 7
 8            30.      The violations of RFDCA described herein present a continuing threat
 9   to members of The Class and members of the general public in that Plaintiff is
10
     informed and believes and thereon alleges that Defendant continues to engage in
11
12   these practices, and will not cease doing so unless and until forced to do so by this
13
     Court.
14
15                                    PRAYER FOR RELIEF
16
17            Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The
18
     Class members the following relief against Defendants, and each of them:
19
20                  1. That this action be certified as a class action on behalf of The Class

21                     and Plaintiff be appointed as the representative of The Class;
22
                    2. For statutory damages of $1,000.00 for Plaintiff and each member of
23
24                     The Class pursuant to Cal. Civ. Code § 1788.30;
25
                    3. For actual damages according to proof;
26
27                  4. For reasonable attorneys’ fees and costs of suit;
28                  5. For prejudgment interest at the legal rate; and


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 1             6. For such further relief as this Court deems necessary, just, and proper.

 2
                              DEMAND FOR JURY TRIAL
 3
 4
            Plaintiff demands a trial by jury of each and every claim so triable.
 5
 6
 7
                                      Respectfully submitted,
 8
                                      Dated: February 10, 2017
 9
                                      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
10
11
12
                                             s/ Todd M. Friedman
                                             Todd M. Friedman
13                                           Attorneys for Plaintiff
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